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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                        CASE NO.: 06-60130-CR-MORENO

  UNITED STATES OF AMERICA,

         Plaintiff,

  vs.

  GARY PARKER,

         Defendant.
                                       /

        NOTICE REGARDING DEFENDANT’S REQUEST FOR HOME
           CONFINEMENT AND COMPASSIONATE RELEASE

         Comes now the Defendant, GARY PARKER, and hereby files this Notice

  with the Court regarding his request for transfer to home confinement with

  the Bureau of Prisons and his motion for compassionate release with the Court.

         On or about September 23, 2020 this Honorable Court appointed the

  Office of the Federal Public Defender to assist Mr. Parker with his pro se

  request for compassionate release (DE 376).

         According to the Government, the defendant was approved by the

  Bureau of Prisons for release to home confinement under the Elderly Offender

  Program but was unable to be released due to not having a verifiable home

  address (DE 375:2).
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        On October 7, 2020, defense counsel spoke with the defendant, who

  confirmed the above. Moreover, the defendant advised that he now had a

  verifiable home address and had recently resubmitted his request for home

  confinement with the Warden at Memphis FCI. Defense counsel has further

  verified such with the defendant’s counselor at Memphis FCI. Accordingly, the

  parties are awaiting a decision by the Bureau of Prisons as to whether the

  address provided by the defendant meets their criteria for release to home

  confinement.

        Defense counsel has consulted with AUSA Lanigan regarding the status

  of the pending motion on two separate occasions and the parties are working

  toward a joint resolution. Defense counsel has further consulted with the

  defendant’s family and needs additional time (if necessary) to file a

  supplemental motion for compassionate release on behalf of Mr. Parker.



                                     Respectfully submitted,

                                     MICHAEL CARUSO
                                     FEDERAL PUBLIC DEFENDER

                               By:   /s/ Christian Dunham___________
                                     Assistant Federal Public Defender
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                          CERTIFICATE OF SERVICE

        I HEREBY certify that on October 8, 2020, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify

  that the foregoing document is being served this day on all counsel of record or

  pro se parties identified in the manner specified, either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized

  manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.



                                        /s/ Christian Dunham




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